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Westero District of Tennessee

United States of America

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) Case No.c§-Qee+s-os »~ @
CONSENT TO MODIFY CONDITIONS OF RELEASE

Karim Ramzi

I, Karirn Ramzi, have discussed with Stephanie K. Denton, Pretrial Services Officer,
modification of my release conditions as follows:

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l) Surrender any passport to the Clerk, U.S. District Court Y§§ IC-"'_
- _. ' <':'__ m
2) Obtam no passport ?_?;m§ .- -<
3) Defendant shall reside at 3376 E. Winchester Place, Memphis, TN 381 16 ”‘?3‘ 'r'_ 1

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I consent to this modification of my release conditions and agree to abide by this modification

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ignature of Defendant

Date Pretrial Services Oflicer

 

Date

l have rev' onditions With my client and concur that this modification is appropriate.

é»/.¢y/‘/

Date

%ture ol` Deferise Counsel

[\/]/The above modification of conditions of release is ordered, to be effective on C?’?~/_‘;”»Ll§

[ ] The above modification of conditions of release is not ordered.

Signature of Judicial Of`iicer

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UNITED sTATE DISIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:05-CR-201 13 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Stephen R. Leftler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

